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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

RE: John Edward Small, Jr. XXX-XX-2589                               Case No. 10-37875-KRH



              DIRECTIVE FOR TERMINATION OF WAGE DEDUCTION

M. Hohner Inc.
Attn: Payroll Department
1000 Technology Park Drive
Glen Allen, VA 23059

IT IS DIRECTED:

   That the above Employer be, and is hereby directed to discontinue withholding any additional
funds from the wages of the Debtor, John Edward Small, Jr., and to remit directly to the debtor
any funds held or to be held as of the date of this Directive under the previous Directive for
Deduction.

  THIS DIRECTIVE IS ENTERED PURSUANT TO A STANDING ORDER OF THE
UNITED STATES BANKRUPTCY COURT.

Dated: December 22, 2014

                                               /S/ Carl M. Bates
                                               Carl M. Bates, Trustee
                                               Eastern District of Virginia, Richmond Division


IF ANY INFORMATION IS DESIRED REGARDING THIS DIRECTIVE, CALL THE
TRUSTEE’S OFFICE AT 804.237.6800 OR FAX TO 804.237.6801

The Trustee does hereby certify that a copy of this Directive was mailed to the Debtor and the
employer and electronically sent to Debtor’s counsel on the date above written.

                                               /S/ Carl M. Bates
                                               Carl M. Bates, Trustee
